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                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

BRANDON M. WILBORN,

                           Plaintiff,
                                                                                       CIVIL ACTION
          V.                                                                            NO. 18-3597


JEFFERSON B. SESSIONS, III, et al., 1                                                                                  ,,;


                           Defendants.                                                            r.:. '.--;:)   . • l"f' J
                                                                                                  r   _:.:;i     u   t.!J,

                                        ;Ji----,    ORDER                                    r~-: ~>.
          AND NOW, this            6    day of February, 2019, after reviewing Plaintiffs Motion                        fo(
Preliminary Injunction (Docket No. 2), all supporting and opposing papers, and after                                   orl
argument on the matter, it is hereby ORDERED that Plaintiffs motion is DENIED WITHOL'"f

PREJUDICE
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          with leave to re-file after further discovery is conducted. 2




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 Mr. Wilborn named Jefferson B. Sessions, III, Atto e             oft e United States, Thomas E. Brandon, Acting
Director of the Bureau of Alcohol, Tobacco, Firearms, and Explosives, Christopher Wray, Director of the Federal
Bureau of Investigation, and the United States of America as Defendants. Under Federal Rule of Civil Procedure
25(d), their respective successors are automatically substituted.
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  Currently before this Court is Mr. Wilbom's Motion for Preliminary Injunction challenging the preliminary
applicability of Section 922(g)(4). (ECF Docket No. 2, at 1.) Under 18 U.S.C. § 922(g)(4), any person adjudicated
as a "mental defective" or committed to a mental institution is prohibited from possessing any firearm or
ammunition. 18 U.S.C. § 922(g)(4). Mr. Wilborn moves for preliminary injunction to protect his constitutional
rights arguing his commitment under Section 302 of the Mental Health and Procedures Act ("MHPA") does not
constitute a commitment for the purposes of 18 U.S C. § 922(g)(4). Given the lack of facts presented at this stage in
the litigation, we will deny Mr Wilbom's preliminary mjunction without prejudice with leave to re-file.

Granting a preliminary injunction requires the movmg party establish four factors: "(l) whether the movant has a
reasonable probability of success on the merits; (2) whether the movant will be irreparably harmed by denying the
injunction; (3) whether there will be greater harm to the nonmoving party if the injunction is granted; and (4)
whether granting the injunction is in the public interest" llzghmark. Inc v UPMC Health Plan. Inc, 276 F.3d 160,
171 (3d Cir. 2001); see also Wmter v Natural Res Def Council, Inc., 555 C.S 7, 20 (2008).
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Mr. Wilborn alleges Defendants "collectively and ind1V1dually prohibited a particular class of persons, including the
Plaintiff, from obtaining, possessing, keeping, bearing, or otherwise utilizing firearms and ammunition as a result of
an isolated incident of involuntary examination and treatment" under Section 302 "in the absence of a statutory or
regulatory prohibition and in the absence of their Fifth Amendment rights to due process." Section 302 allows for
an involuntary examination and treatment not to exceeds 120 hours. PA ST 50 P.S. § 7302. Under Section 302, Mr.
Wilborn contends, "treatment and evaluation" only requires a doctor's signature certifying the individual requires
"immediate treatment," which violates the right to due process. (ECF Docket No 2, at 7-8.)

In 2003, Mr. Wilborn was involuntarily examined and treated under Section 302. (Id. at 2.) The institution
"involuntarily examined and treated" Mr Wilborn for 72 hours before releasmg him. (Id.) According to Mr.
Wilborn, and consistent with Section 302, Mr Wilborn did not speak with a lawyer, present witnesses, submit
evidence, or come before a neutral arbiter prior to his release. (Id.) Then in 2018, Mr. Wilborn attempted to
"purchase, possess and utilize firearms for self-defense and for defense of his family" and his home. (Id ) But, the
National Instance Check System ("NICS"), administrated by the FBI, denied Mr. W1!born's application. (Id.) Mr.
Wilborn appealed and received a letter stating: "[y ]our transactions' prohibition is under Tile 18, United States Code
(U.S.C.), Section 922(g)(4): 'A person who has been adjudicated as a mental defective or who has been committe~
to a mental institution."' (Id.) Now, Mr. Wilborn alleges, consistent with the limitations of Section 302, he wa
neither adjudicated a "mental defective" nor involuntanly committed to a mental mstitut10n as 1s reqmred under
Section 303 commitment. (Id.)

For Section 922(g)(4) restrictions to apply, the individual must be: 1) adjudicated as a "mental defecuve"; and 2~
committed to a mental institution. Franklm v SeSSlons, 291 F.Supp.3d 705, 714 (W.D. Pa. 2017) In Franklm, th~
court found the Section 922(g)(4) restrictions inapplicable because Mr. Franklm's examination failed to satisfy the
above prongs. Id. Similarly, Mr. Wilborn argues his Section 302 examination and treatment does not trigger
prohibition under 18 U.S.C. § 922(g)(4) because his involuntary examination failed to satisfy the above prongs
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(ECF Docket No. 2, at 3.)

First, a Section 922(g)(4) restriction applies when an individual has been adjudicated as a "mental defective 'i
Because Mr. Franklin's mental health examination was based on the opinions of a "single officer, a single count)1
officer with an unspecified position m the county administrator's office, and a single treatmg physician - without the
involvement of any judicial or quasi-judicial decision-maker or any semblance of an adversanal proceeding," Mr.
Franklin's examination hardly constituted an adjudication under Section 302. Id at 714-15. Without the
involvement of a judicial decision-maker, the court declined to consider Mr. Franklin's Section 302 examinat10n an
"adjudication" under the plain meaning of the word. Id at 715.

Adjudication, the court continued, is the "involvement of a judicial decision-maker, the resolution of a dispute aftJ
consideration of argument by the parties involved, and a deliberative proceeding with some form of due process."
Id; see also FDIC v. Meyer, 510 lJ.S 471,476 (1994) (construing statutory terms in accordance with their
ordinary or natural meaning in the absence of a statutory definition); Asgrow Seed Co v Wmterboer, 513 U.S. 179,
187 (1995); Commissioner v Sollman, 506 U.S. 168, 174 (1993). Citing the Code of Federal Regulation, the court
also defined "adjudication" as the "determination by a court, board, commission, or other lawful authority." Id
(citing 27 C.F.R. § 478.11) The court looked to Mr. Franklin's three adjudicators - the police officer, the
unspecified officer in the county administrator's office, and the physician · and determined nothing in the record
indicated these individuals jointly comprised a board or commission which would have been sufficient to adjudge
someone "mentally defective." Id. Given the mental health exammation in Franklm was not made by a court,
board, or commission functioning in a neutral judicial or quasi-judicial role, Section 922(g)(4) was inapplicable to
Mr. Franklin. The court also determined none of the adjudicators in Mr. Franklin's case could be considered "other
lawful authority" for purposes of Section 922(g)(4). Id The court continued: "[i]nterpreting Section 922(g)(4) such
that individual physicians and other non-neutral actors have lawful authority to wholly strip a person of their ability
to a possess a firearm in perpetuity based on a non-adversarial, ex parte dec1s10n would raise senous constitut10nal
concerns with the statute, which the canon of constitutional avoidance requires the Court to avoid if possible." Id at
716.

Second, a Section 922(g)(4) restriction applies when an individual has been committed to a mental institut10n. In
Franklm, the court determined Mr Franklin had not been "committed" to a mental institution. Id at 717. Mr.


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Franklin was involuntarily admitted to UPMC Bedford then transferred to Somerset Hospital for an emergency
mental health examination. Id As the court explained, although UP.MC Bedford and Somerset Hospital meet the
definition of mental institution under Section 922(g)( 4 ), Mr. Franklin was not committed by a "court, board,
commission, or other lawful authority." Also, the court continued, "committed to a mental institution ... does not
include a person in a mental institution for observation." Id; see also Umted States v Rehlander, 666 F.3d 45, 48
(1st Cir. 2012) (distinguishing temporary, emergency hospitalizations from formal commitments); Umted States v
Giardina, 861 F2d 1334, 1337 (5th Cir. 1988) (holding that there is nothing in 18 U.S.C. § 922(g) which indicates
an intent to prohibit the possession of firearms by persons who had been hospitalized for observation and
examination where they were found not to be mentally ill and were not committed); Umted States v Hansel, 474
F.2d 1120, 1122-23 (8th Cir. 1973).

The court in Franklin concluded Mr. Franklin's less-than-24-hour-stay at UP.MC Bedford and Somerset Hospital for
emergency mental health examination fell within the noted exceptions to the rule. Id The court refused to appl1,
Section 922(g)(4) as Mr. Franklin was not adjudicated a "mental defective" and was never "committed" to a mentaJ
institution.                                                                                                   ·

Here, this Court lacks much of the same substantive facts the court in Franklin enjoyed when analyzing the Sectio1
922(g)(4) restrictions as the restrictions were addressed at summary judgment. 1n Franklin, the court discussed af
length the factual circumstances surrounding Mr. Franklin's less-than-24-hour involuntary mental health
examination. The court analyzed the individuals involved in the adjudication, the nature of the examination, the
mental institutions that conducted the examination, and Mr Franklin's personal and medical history. Here we are
armed with little more than vague references to an involuntary examination and denial of rights in violation of the
Second and Fifth Amendments. Unlike Franklin, the facts presented here are bereft of any reference to Mr.
Wilbom's involuntary examination and treatment. Indeed, the only evidence with which we are presented 1s the
length of.Mr. Wilbom's "commitment" and a vague reference to the county where he was examined.                    J

Given the lack of facts presented here as compared to Franklin, this Court will deny Mr. Wilbom's motion for
preliminary injunction without prejudice with leave to re-file after further discovery is conducted. More discovery 1s
required before we can determine whether Mr. Wilborn has a reasonable probability of success on the ments.




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